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        Of Attorneys for Defendants Lively,
        Symes, Mixon, Ogletree Deakins,
        and Seymour




                             UNITED STATES DISTRICT COURT

                                    DISTRICT OF OREGON

                                      EUGENE DIVISION



 ANDREW CLARK                                                 Case No.         6:20-cv-00253-AA

                                   Plaintiff,
                                                     DECLARATION OF JOHN POLLINO
                     vs.                                IN SUPPORT OF DEFENDANTS’
                                                          OGLETREE, DEAKINS, NASH,
 WELLS FARGO BANK, OGLETREE                             SMOAK, STEWART, P.C., LEAH
 DEAKINS NASH SMOAK STEWART,                               LIVELY, DAVID P.R. SYMES,
 P.C., OREGON BAR ASSOCIATION,                     CHRISTOPHER MIXON, AND STEVEN
 LEAH C LIVELY, DAVID P.R. SYMES,                    SEYMOUR’S REPLIES IN SUPPORT
 CHRISTOPHER MIXON, MICHAEL                          OF MOTION TO DISMISS, MOTION
 HOGAN, ALEX GARDNER, ERIK                             FOR PROTECTIVE ORDER, AND
 HASSELMAN, STEVEN SEYMOUR,                         MOTION TO DECLARE PLAINTIFF A
 CHRISTIAN ROWLEY, BENJAMIN                                    VEXATIOUS LITIGANT
 GUTMAN, BARRY DAVIS, DAVID
 CAMPBELL, BRUCE NEWTON,
 PETER URIAS, ELLEN ROSEBLUM,
 SABASTIAN NEWTON TAPIA, BEN
 MILLER, and VANESSA NORDYKE

                                Defendants.

       I, John Pollino, under penalty of perjury, hereby declare as follows:

       1.      I am an attorney licensed to practice law in the state of Oregon.



 DECLARATION OF JOHN POLLINO IN SUPPORT OF DEFENDANTS’ REPLIES IN                         Page - 1
 SUPPORT OF MOTION TO DISMISS, MOTION FOR PROTECTIVE ORDER, AND MOTION
 TO DECLARE PLAINTIFF A VEXATIOUS LITIGANT: Clark v Wells Fargo Bank
        2.      I am attorney of record for Ogletree, Deakins, Nash, Smoak, Stewart, P.C., Leah

Lively, David P.R. Symes, Christopher Mixon, and Steven Seymour ("Defendants Ogletree

Deakins") in Case No. 6:20-cv-00253-AA.

        3.      I make this Declaration based upon personal knowledge and am competent to

testify to all facts herein.

        4.      Attached to this Declaration as Exhibit 1 is a true and correct copy of multiple

communications from Plaintiff to various defendants in this matter from April 8, 2020 (the date I

emailed Plaintiff to confer), to April 29, 2020 (attorney-client privileged communications

redacted).

I HEREBY DECLARE THAT THE ABOVE STATEMENT IS TRUE TO THE BEST OF MY
KNOWLEDGE AND BELIEF, AND THAT I UNDERSTAND IT IS MADE FOR USE AS
EVIDENCE IN COURT AND IS SUBJECT TO PENALTY FOR PERJURY.


                                         John E Pollino




 DECLARATION OF JOHN POLLINO IN SUPPORT OF DEFENDANTS’ REPLIES IN                        Page - 2
 SUPPORT OF MOTION TO DISMISS, MOTION FOR PROTECTIVE ORDER, AND MOTION
 TO DECLARE PLAINTIFF A VEXATIOUS LITIGANT: Clark v Wells Fargo Bank
                                  CERTIFICATE OF SERVICE

      I hereby certify that I caused to be served the foregoing Declaration of John Pollino in
Support of Defendant’s Replies in Support of Motion to Dismiss and Declare Plaintiff a
Vexatious Litigant on the date indicated below,

        [X]     Via First-Class Mail with postage prepaid
        [X]     Via Electronic Filing
        [ ]     Via Facsimile Transmission
        [ ]     Via Hand Delivery
        [ ]     Via Overnight Delivery

to the following person(s) a true copy thereof, contained in a sealed envelope (if other than by
electronic filing notice), addressed to said person(s) at their last known addresses indicated
below:

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     Of Attorney for Sabastian Newton Tapia


         DATED this 4th day of May, 2020.

                             GARRETT HEMANN ROBERTSON P.C.



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CERTIFICATE OF SERVICE: Clark v Wells Fargo, et al.
